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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 25-5067                                                      September Term, 2024
                                                                             1:25-cv-00766-JEB
                                                             Filed On: March 16, 2025
J.G.G., et al.,

                  Appellees

         v.

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                  Appellants


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Consolidated with 25-5068



         BEFORE:           Henderson, Millett, and Walker, Circuit Judges


                                              ORDER

         Upon consideration of the emergency motions for stay pending appeal, it is

        ORDERED that appellees file a combined response to the motions, not
exceeding 7,800 words, by 5:00 p.m. on Tuesday, March 18, 2025. Appellants must
file any combined reply, not exceeding 3,900 words, by 5:00 p.m. on Wednesday,
March 19, 2025.

                                             Per Curiam


                                                               FOR THE COURT:
                                                               Clifton B. Cislak, Clerk

                                                       BY:     /s/
                                                               Daniel J. Reidy
                                                               Deputy Clerk
